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                    EXHIBIT B
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                                                                      CT Corporation
                                                       Service of Process Notification
                                                                                                               06/29/2023
                                                                                                  CT Log Number 544188424


Service of Process Transmittal Summary

TO:      Viraj Telang
         LYFT, INC.
         185 BERRY ST STE 400
         SAN FRANCISCO, CA 94107-1725

RE:      Process Served in District of Columbia

FOR:     Lyft, Inc. (Domestic State: DE)



ENCLOSED ARE COPIES OF LEGAL PROCESS RECEIVED BY THE STATUTORY AGENT OF THE ABOVE COMPANY AS FOLLOWS:

TITLE OF ACTION:                       Re: JANE DOE // To: Lyft, Inc.

DOCUMENT(S) SERVED:                    Motion, Certificate, Order, Exhibit(s)

COURT/AGENCY:                          District of Columbia - U.S. Supreme Court, DC
                                       Case # 2023CAB002577
NATURE OF ACTION:                      Personal Injury - Vehicle Collision - PLAINTIFF'S MOTION TO EXTEND TIME FOR SERVICE
                                       UPON DEFENDANT NAOUFAL JELLALI
PROCESS SERVED ON:                     C T Corporation System, Washington, DC

DATE/METHOD OF SERVICE:                By Non-Traceable Mail on 06/29/2023 postmarked on 06/26/2023

JURISDICTION SERVED:                   District of Columbia

APPEARANCE OR ANSWER DUE:              08/25/2023 (Document(s) may contain additional answer dates)

ATTORNEY(S)/SENDER(S):                 Joseph Cammarata
                                       CHAIKIN, SHERMAN, CAMMARATA & SIEGEL, P.C.
                                       1232 17th St. NW
                                       Washington, DC 20036
                                       202-659-8600
ACTION ITEMS:                          CT has retained the current log, Retain Date: 06/30/2023, Expected Purge Date:
                                       07/05/2023

                                       Image SOP

                                       Email Notification, John Pellegrini jpellegrini@lyft.com

                                       Email Notification, Viraj Telang virajt@lyft.com

                                       Email Notification, Christopher Youngblood cyoungblood@lyft.com

                                       Email Notification, Eboni James ebonijames@lyft.com

                                       Email Notification, Ty Lim legalbilling@lyft.com

                                       Email Notification, Devin Armstrong devina@lyft.com

                                       Email Notification, Legal Sop legal-sop@lyft.com

                                       Email Notification, Zermani Kadiam zkadiam@lyft.com




                                                                                                                  Page 1 of 2
      Case 1:23-cv-02006-APM Document 1-3 Filed 07/12/23 Page 3 of 17
                                                                     CT Corporation
                                                      Service of Process Notification
                                                                                                                 06/29/2023
                                                                                                    CT Log Number 544188424

REGISTERED AGENT CONTACT:               C T Corporation System
                                        1015 15th Street, NW
                                        Suite 1000
                                        Washington, DC 20005
                                        877-564-7529
                                        MajorAccountTeam2@wolterskluwer.com

DOCKET HISTORY:

          DOCUMENT(S) SERVED            DATE/METHOD OF SERVICE                  TO                            LOG NUMBER

          Summons, Order,               By Process Server on 06/21/2023         Viraj Telang                  544121190
          Attachment(s), Complaint,                                             LYFT, INC.
          Jury Demand, Information
          Sheet, Motion, Certificate,
          Exhibit(s)




The information contained in this Transmittal is provided by CT for quick reference only. It does not constitute a legal opinion,
and should not otherwise be relied on, as to the nature of action, the amount of damages, the answer date, or any other
information contained in the included documents. The recipient(s) of this form is responsible for reviewing and interpreting the
included documents and taking appropriate action, including consulting with its legal and other advisors as necessary. CT
disclaims all liability for the information contained in this form, including for any omissions or inaccuracies that may be
contained therein.




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    Washington, D.C. 20036                                                                           2023




                                   LYFT, INC.
                                   c/o CT Corporation System
                                   105 15th Street NW Suite 1000
                                   W ashington, D.C. 20005
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            IN THE SUPERIOR COURT OF THE DISTRICT OF COLUMBIA
                             CIVIL DIVISION

 JANE DOE

       Plaintiff,
                                                  : Case No. 2023-CAB-002577.
               V.                                 : Judge Yvonne Williams

 LYFT, INC., et al.                               : Next Event: ISC
                                                  : August 18,.2023,-9:30 AM
       Defendants.


   PLAINTIFF'S MOTION TO EXTEND TIME FOR SERVICE UPON DEFENDANT
                          NAOUFAL JELLALI

       COMES NOW Plaintiff Jane Doe, by and through her counsel,

 Joseph Cammarata, Esq., Kayann S. Chambers, Esq., and the law

 firm of Chaikin Sherman Cammarata & Siegel, P.C., pursuant to

 Superior      Court    Civil    Procedure      Rule     4(m),    and     respectfully

 requests     that     the   Court   extend     the     time    for   service    by   an

 additional     sixty    (60)    days     to   effect    service      upon   Defendant

 Naoufal Jellali, given that Plaintiff has been unable to locate

 and   serve    Defendant       despite    good    faith       efforts.    In   further

 support thereof, Plaintiff .states as follows:

       1.      This case 'arises out of an 'April 30, 2022, incident

 where Co-Defendant Naoufal Jellali, a Lyft driver, and employee,

 agent, and/or servant of Defendant Lyft Inc., sexually exploited

 and assaulted Plaintiff 'during the course of.a rideshare ride.
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         2.   Plaintiff        filed   suit      against      the      Defendants    on

 April 27, 2023. Accordingly, as of now the deadline to file proof

 of   service      is    the    date   of       the    filing    of     this    Motion,

 June 26, 2023.

      3.      On June 26, 2023, Plaintiff filed proof of service upon

 Defendant Lyft Inc.

         4.   However, Plaintiff's efforts to serve Defendant Jellali

 have thus far been unavailing.

      5.      Plaintiff's process server has visited Skyline Plaza

 Condo    where    Defendant     Jellali    was last        known to     reside,    but

 discovered     that the       unit is no        longer     occupied    by Defendant

 Jellali. See      Exhibit     1,   Affidavit         of   Attempted    Service.    The

 current resident of the unit stated that no such person resides

 therein, that he did not know Defendant Jellali, and that the

 current resident had lived in the unit for thirteen years. Id.

 Moreover, the engraved name plate affixed on both North and South

 2201 units of Skyline Plaza Condo does not bear the name of

 Defendant Jellali. Id.

      6.      Additionally,         Plaintiff's        process    server       conducted

 interviews       with   the   building's employees,            who   confirmed     that

 Defendant Jellali was not currently registered as a resident of

 the residential building. Id.




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      7.        Plaintiff's process server then investigated Defendant

 Jellali       through   all    relevant       database      systems    and    used   a

 proprietary      database     to   attempt     to    find   other     addresses   and

 contact information for Defendant Jellali, but no other viable

 address at which to serve the Defendant was found. Id.

      8.        Attempts to reach the Defendant on his cellular phone

 were unsuccessful and Defendant Jellali has not returned the

 process server's call. Id.

      9.        Further,       Plaintiff's           counsel     contacted         the

 investigating detective in the criminal sexual assault case to

 attempt to find contact information for Defendant Jellali to no

 avail. See Exhibit 2, Email to DetectiveIvory Jenkins.

         10.    In light of Plaintiff's substantial good faith efforts

 to serve Defendant Jellali, Plaintiff requests that the Court

 extend the time for service by sixty (60) days, pursuant to Sup.

 Ct. R. 4(b)(3), so that Plaintiff may continue to attempt to

 effect service upon Defendant Jellali.

         WHEREFORE, Plaintiff Jane Doe respectfully requests that the

 Court    allow    Plaintiff     an   additional       sixty    (60)    days    (until

 Friday, August 25,        2023) to serve process and file                    proof of

 service upon Defendant Naoufal Jellali.




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                                  Respectfully submitted,

                                  CHAIKIN, SHERMAN,
                                     CAMMARATA & SIEGEL, P.C.




                                  Kayann S. Chambers
                                  DC •Bar No. 241462
                                  Joseph Cammarata
                                  DC Bar No. 389254
                                  1232 17th Street, N.W.
                                  Washington, DC 20036
                                  Tel: (202) 659-8600
                                  Fax: (202) 659-8680
                                  joe@dc-law.net
                                  chambers@dc-law.net
                                  Attorneys for Plaintiff


                       RULE 12-I CERTIFICATION

      Plaintiff was unable to obtain consent of the Defendants
since the Defendants have not entered an appearance in this
case.




                                  Kayann S. Chambers




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                        CERTIFICATE OF SERVICE

      I hereby certify that a copy of Plaintiff's Motion to Extend
 Time for Service Upon Defendant Naoufal Jellali, will be served
 upon Defendant Naoufal Jellali along with process.

      I further certify that on this 26th day of June, 2023, a
 copy of the foregoing Motion to Extend the Time for Service Upon
 Defendant Naoufal Jellali, was mailed, first-class, postage
 prepaid to:

      LYFT, INC.
      c/o CT Corporation System
      105 15th Street NW Suite 1000
      Washington, D.C. 20005




                                  Kayann S. Chambers .




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           IN THE SUPERIOR COURT OF THE DISTRICT OF COLUMBIA
                            CIVIL DIVISION

 JANE DOE

       Plaintiff,
                                          : Case No..2023-CAB-002577
             V.                           : Judge Yvonne Williams

 LYFT, INC., et al.                     • : Next Event: ISC.
                                          : August 18, 2023, 9:30 AM
       Defendants.



                                  ORDER

       Upon consideration of Plaintiff's Motion to Extend the Time

 for Service Upon Defendant Naoufal Jellali, it is this

 day of July, 2023;


       ORDERED, that Plaintiffs' Motion        to Extend the   Time for

 Service Upon Defendant Naoufal Jellali is GRANTED, and it is

 further


       ORDERED, that Plaintiff shall have sixty (60) days from the

 date of this Order to serve process and file proof of service


 upon the Defendant Naoufal Jellali.




                                          Judge Yvonne Williams




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 Copies to:

 Joseph Cammarata, Esquire
 CHAIKIN, SHERMAN, CAMMARATA & SIEGEL, P.C.
 1232 17th Street, N.M.
 Washington, D.C. 20036


 LYFT, INC.
 c/o CT Corporation System
 105 15th Street NW Suite 1000
 Washington, D.C. 20005



 Naoufal Jellali
 3701 S. George Mason Dr.
 Unit 2201N,
 Falls Church, VA 22041
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                                                         AFFIDAVIT OF DILIGENCE

                Court:                                                  County:                                          Job:
 2023-CAB-      Superior Court of the District of Columbia-Civil        District of Columbia, DC                         9665515
 0Q2577         Division-Civil Actions Branch
 Plaintiff / Petitioner                                                 Defendant / Respondent:
 Jane Doe                                                               Lyft, Inc., et al.
 Received by:                                                           For:
 CPI - Columbia Process and Investigative Services LLC                  Cliaiken, Sherman, Cammarata,Siegel, PC
 To be served upon:
 Naoufal Jellali

I,Scott Kucik , being duly sworn, depose and say: I am over the age of 18 years and not a party to this action, and that within the boundaries
of the state where service was effected, I was authorized by law to make service of the documents and informed said person of the contents
herein

Recipient Name / Address: Naoufal Jellali, 3701 S George Mason Dr Unit 2201 N, Falls Church, VA 22041
Manner of Service:
Documents:                    Summons,Complaint, Initial Order, Information Sheet, Plaintiff's Motion for Leave to Proceed Under
                              Pseudonym and to Seal Exhibit A, Exhibits

Additional Comments:
I am a Partner in the company of CPI - Columbia Process and Investigative Services, LLC.

I am a licensed private investigator.

I am the Custodian of Records of CPI.

I am not a party to or otherwise interested in this case.

Beginning on or around June 21,2023 to date. I, and agents of my office, have made comprehensive efforts, to include comprehensive
research and interview/s, in an effort to locate and Serve the Defendant in the above referenced case, Noufali Jellali.

My agent found the referenced address, 3701 S George Mason Dr Unit 2201 N. Falls Church, VA 22041, to comprise an apartment complex
with a North and South building. My agent made multiple attempts to Serve the Defendant at both buildings and at both 2201 Units in the
complex. On 6/23/23 at 8:55pm, my agent was able to speak with a male occupant at the 2201 N Unit See notes below:

3701 S. George Mason Dr., Fairfax, VA
Upon arriving to the residence I knocked on the door and a mail resident answered. He said that he has lived at the address for 13 years
now, and no one with the subjects name has ever lived with him. He also informed me that he has never receive mail for this person and
does not have any forwarding information. He refused to give me his name.The concierge verified that the subject does not live at the
address as far as they know.

Additionally, the name plates on both the North and South 2201 Units do not have the Defendants name on them. One plate reads Zhu-
Zhang and the other plate reads Rafiq. My agent was uncertain if the Defendant resided with another individual, possibly one of the
individuals on the name plate, during her efforts.

Accordingly, my agent conducted additional interviews with employees of the complex and she was informed that the Defendant is not a
registered occupant in the complex. Our information is that the Defendant may have recently moved from the complex but that information
is not yet confirmed.

Accordingly, research was conducted in an effort to find a viable address and/or an alternate address at which to Serve the Defendant.

My research included but was not limited to: REPORTING ADDRESSES, DRIVERSNEHICLE REGISTRATIONS, PHONE/CELLULAR PHONE
N UMBER REGISTRATIONS, REPORTING EMPLOYMENT INFORMATION, REPORTING RELATIVES/ASSOCIATES, CIVIL AND CRIMINAL RECORDS,
VOTING REGISTRATION INFORMATION.

To date, I have been unable to pinpoint and/or confirm a viable address at which to Serve the Defendant. I was able to develop the following
phone/cellular phone number reporting as registered to the Defendant 929 424 9641. I have been unable to speak with the Defendant
when I have called the number. The answering recording on the phone states: "THIS IS NAOUFAL JELLALI". I have left a message with at the
number asking the Defendant to call me but I have not received a return call from the Defendantyet.

                                                                                                                                  PLAINTIFF'S


                                                                                                                            I       EXHIBIT
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SEE SUPPORTING DOCUMENTS/PHOTOGRAPHS ATTACHED

We continue in our efforts to locate and Serve the Defendant.

I solemnly dedare and affirm under the penalty of perjury that the contents within are true to the best of my knowledge, information, and
belief.




                                                Date

CPI - Columbia Process and Investigative Services LLC
5406 Connecticut Avenue, N.W. Suite 108
Washington. DC 20015
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  From:          Kavann Chambers
  To:            "IvorvJenkins(adc.gov"
  Date:          Monday, June 26, 2023 2:53:37 PM
  Attachments:   Offense Incident Sex Abuse- Misd   DCC 2200006 (903)-.odf


 Detective Jenkins:

• My name is Kayann Chambers, and our firm represent the reporting party in the underlining
  civil case.

 I am reaching out to respectfully request assistance in obtaining'contact information for
 Defendant Naoufal Jellali. I kindly request your cooperation in providing the defendant's
 current contact details, including residential address, phone number, and any other relevant
 information that could aid us in establishing contact. I assure you that this information will be
 used solely for the purpose of advancing the legal proceedings.

 I genuinely appreciate your attention to this matter and your ongoing dedication to ensuring a
 fair and thorough criminal investigation. Please feel free to contact me if you have any
 questions or require further information.
